  Case 18-36291-KRH                      Doc 7 Filed 12/19/18 Entered 12/20/18 00:27:57                                   Desc Imaged
                                              Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Gary Lee Blevins                                                  Social Security number or ITIN        xxx−xx−8154
                      First Name   Middle Name   Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Eastern District of Virginia
                                                                                        Date case filed for chapter 7 12/14/18
Case number:          18−36291−KRH


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                              12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                             About Debtor 1:                                        About Debtor 2:

1.     Debtor's full name                    Gary Lee Blevins

2.     All other names used in the
       last 8 years

3.     Address                               2710 McKenzie Lane
                                             Fredericksburg, VA 22408

4.     Debtor's attorney                     Robert Easterling                                      Contact phone (540)373−5030
       Name and address                      2217 Princess Anne St., Ste. 100−2                     Email: eastlaw@easterlinglaw.com
                                             Frederickburg, VA 22401

5.     Bankruptcy trustee                    Peter J. Barrett                                       Contact phone (804) 343−5237
       Name and address                      Kutak Rock LLP                                         Email: peter.barrett@kutakrock.com
                                             901 East Byrd Street, Suite 1000
                                             Richmond, VA 23219
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
  Case 18-36291-KRH                      Doc 7 Filed 12/19/18 Entered 12/20/18 00:27:57                                   Desc Imaged
                                              Certificate of Notice Page 2 of 4
Debtor Gary Lee Blevins                                                                                       Case number 18−36291−KRH


6. Bankruptcy clerk's office                     701 East Broad Street                                  For the Court:
                                                 Richmond, VA 23219
    Documents in this case may be                                                        Clerk of the Bankruptcy Court:
    filed at this address. You may         Hours open Monday − Friday, 9:00 AM − 4:00 PM William C. Redden
    inspect all records filed in this case ET, except on holidays.
    at this office or online at                                                          Date: December 17, 2018
    www.pacer.gov.                         Contact phone 804−916−2400
    McVCIS 24−hour case
    information:
    Toll Free 1−866−222−8029

7. Meeting of creditors                          January 8, 2019 at 01:00 PM                            Location:

    Debtors must attend the meeting to be        The meeting may be continued or adjourned to a         Office of the U.S. Trustee, 701
    questioned under oath. In a joint case,                                                             East Broad Street − Suite 4300,
    both spouses must attend. Creditors may      later date. If so, the date will be on the court
    attend, but are not required to do so.       docket.                                                Richmond, VA 23219−1885


8. Presumption of abuse                          The presumption of abuse arises.

    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                   File by the deadline to object to discharge or           Filing deadline: March 11, 2019
                                               to challenge whether certain debts are
    The bankruptcy clerk's office must receive dischargeable:
    these documents and any required filing
    fee by the following deadlines.
                                                 You must file a complaint:
                                                 • if you assert that the debtor is not entitled to
                                                   receive a discharge of any debts under any of
                                                   the subdivisions of 11 U.S.C. § 727(a)(2)
                                                   through (7),
                                                   or
                                                 • if you want to have a debt excepted from
                                                   dischargeunder 11 U.S.C § 523(a)(2),
                                                   (4), or (6).

                                                 You must file a motion:
                                                 • if you assert that the discharge should be
                                                   denied under § 727(a)(8) or (9).


                                                 Deadline to object to exemptions:                      Filing deadline: 30 days after the
                                                 The law permits debtors to keep certain property       conclusion of the meeting of
                                                 as exempt. If you believe that the law does not        creditors
                                                 authorize an exemption claimed, you may file an
                                                 objection.

10. Proof of claim                               No property appears to be available to pay creditors. Therefore, please do not file a
                                                 proof of claim now. If it later appears that assets are available to pay creditors, the clerk
    Please do not file a proof of claim unless   will send you another notice telling you that you may file a proof of claim and stating the
    you receive a notice to do so.               deadline.

11. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.
                                                                                                               For more information, see page 3 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 2
  Case 18-36291-KRH                   Doc 7 Filed 12/19/18 Entered 12/20/18 00:27:57                                      Desc Imaged
                                           Certificate of Notice Page 3 of 4
Debtor Gary Lee Blevins                                                                                        Case number 18−36291−KRH


12. Exempt property                    The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                       sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                       may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe
                                       that the law does not authorize an exemption that the debtors claim, you may file an objection.
                                       The bankruptcy clerk's office must receive the objection by the deadline to object to
                                       exemptions in line 9.
13. Local Rule Dismissal               Case may be dismissed for failure to timely file lists, schedules and statements, or to attend
    Warning                            meeting of creditors. (Local Bankruptcy Rules 1007−1, 1007−3, and 2003−1.) Trustee may at
                                       the meeting give notice of intention to abandon property burdensome or of inconsequential
                                       value or intent to sell nonexempt property that has an aggregate gross value less than
                                       $2,500. Objections thereto must be filed pursuant to Local Bankruptcy Rules 6004−2 and
                                       6007−1.
14. Payment of Fees for                Exact Change Only accepted as of February 4, 2008, for payment of fees and services.
    Richmond Case and                  Payment may be made by non−debtor's check, money order, cashier's check or a 'not to
    Adversary Filing and               exceed check' made payable to Clerk, U.S. Bankruptcy Court, or any authorized non−debtor's
    Miscellaneous Requests             credit card.
Electronic bankruptcy notices are delivered faster than the U.S. Mail if you have a PC with Internet connection or a Fax machine.
For more information, go to bankruptcynotices.uscourts.gov or call, toll free: 877−837−3424. Case/docket information available
on Internet @ www.vaeb.uscourts.gov

ATTENTION DEBTORS: Receive your court notices and orders by email through the DeBN. Same−day delivery. Convenient
Access. Free. For more information and to download the request form, go to www.vaeb.uscourts.gov and select the Debtor
Electronic Bankruptcy Noticing link from the ATTENTION DEBTORS DeBN banner.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline           page 3
        Case 18-36291-KRH               Doc 7 Filed 12/19/18 Entered 12/20/18 00:27:57                              Desc Imaged
                                             Certificate of Notice Page 4 of 4
                                               United States Bankruptcy Court
                                               Eastern District of Virginia
In re:                                                                                                     Case No. 18-36291-KRH
Gary Lee Blevins                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0422-7                  User: cummingsj                    Page 1 of 1                          Date Rcvd: Dec 17, 2018
                                      Form ID: 309A                      Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Dec 19, 2018.
db             +Gary Lee Blevins,   2710 McKenzie Lane,    Fredericksburg, VA 22408-8072
14648222       +Citimortgage,   P.O. Box 6243,    Sioux Falls, South Dakota 57117-6243
14648223       +Home Depot Credit Services,    P.O. Box 790328,   St. Louis, Missouri 63179-0328
14648224       +Mr. Cooper,   8950 Cypress Waters Boulevard,    Dallas, Texas 75019-4620
14648225       +NSWC Federal Credit Union,   P.O. Box 966,    Dahlgren, Virginia 22448-0966
14648226       +Samuel I. White, P.C.,   5040 Corporate Wood Drive, # 120,    Virginia Beach, VA 23462-4377

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: eastlaw@easterlinglaw.com Dec 18 2018 04:20:35       Robert Easterling,
                 2217 Princess Anne St., Ste. 100-2,    Frederickburg, VA 22401
tr             +EDI: QPJBARRETT.COM Dec 18 2018 08:34:00      Peter J. Barrett,    Kutak Rock LLP,
                 901 East Byrd Street, Suite 1000,    Richmond, VA 23219-4071
14648219       +EDI: CAPITALONE.COM Dec 18 2018 08:34:00      Capital One,    P.O. Box 30285,
                 Salt Lake City, Utah 84130-0285
14648221       +EDI: CHASE.COM Dec 18 2018 08:34:00      Chase,   P.O. Box 15298,    Wilmington, DE 19850-5298
14648220       +EDI: CHASE.COM Dec 18 2018 08:34:00      Chase,   P.O. Box 15298,
                 Wilmington, Delaware 19850-5298
14648228       +EDI: RMSC.COM Dec 18 2018 08:34:00      SYNCB/Care Credit,    Attn: Bankruptcy Dept.,
                 P.O. Box 965064,   Orlando, Florida 32896-5064
14648229       +EDI: RMSC.COM Dec 18 2018 08:34:00      SYNCB/Walmart,   Attn: Bankruptcy Dept.,
                 P.O. Box 965060,   Orlando, Florida 32896-5060
14648227       +EDI: SEARS.COM Dec 18 2018 08:34:00      Sears Credit Cards,    P.O. Box 6283,
                 Sioux Falls, South Dakota 57117-6283
                                                                                               TOTAL: 8

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Dec 19, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on December 15, 2018 at the address(es) listed below:
              John P. Fitzgerald, III   USTPRegion04.RH.ECF@usdoj.gov
              Peter J. Barrett   peter.barrett@kutakrock.com,
               charisse.matthews@kutakrock.com;pbarrett@ecf.epiqsystems.com
              Robert Easterling    on behalf of Debtor Gary Lee Blevins eastlaw@easterlinglaw.com,
               eastlaw@infionline.net
                                                                                            TOTAL: 3
